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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                    :
                                                      Chapter 11
BOY SCOUTS OF AMERICA AND
                                          :           Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                      Debtors.            :           Jointly Administered

                                          :

                                          :

  MOTION AND ORDER FOR ADMISSION PRO HAC VICE OF JANINE PANCHOK-BERRY

        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro
hac vice of Janine Panchok-Berry of O’Melveny & Myers LLP to represent Century Indemnity Company,
as successor to CCI Insurance Company, as successor to Insurance Company of North America and
Indemnity Insurance Company of North America, Ace Insurance Group Westchester Fire Insurance
Company and Westchester Surplus Lines Insurance Company in the above-captioned cases and any
adversary proceeding related thereto.

Date: April 8, 2020                               /s/ Stamatios Stamoulis
                                                  Stamatios Stamoulis (DE No. 4606)
                                                  STAMOULIS & WEINBLATT LLC
                                                  800 N. West Street Third Floor
                                                  Wilmington, Delaware 19801
                                                  Tel: (302) 999-1540
                                                  Email: stamoulis@swdelaw.com

                                                  Counsel to Century Indemnity Company, as
                                                  successor to CCI Insurance Company, as
                                                  successor to Insurance Company of North
                                                  America and Indemnity Insurance Company of
                                                  North America, Ace Insurance Group Westchester
                                                  Fire Insurance Company and Westchester Surplus
                                                  Lines Insurance Company




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              CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Rule 9010-1 of the Local Rules of Bankruptcy Practice and Procedure of the United
States Bankruptcy Court for the District of Delaware, I certify that I am eligible for admission to this
Court, am admitted, practicing and in good standing, as a member of the Bar of the State of New York
and submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the
preparation or course of this action. I also certify that I am generally familiar with this Court’s Local
Rules and with Standing Order for District Court Fund revised 8/31/16. I further certify that the annual
fee of $25.00 has been paid to the Clerk of the Court for District Court.
Dated: April 8, 2020                                /s/Janine Panchok-Berry
                                                    Janine Panchok-Berry
                                                    O’Melveny & Myers LLP
                                                    Times Square Tower
                                                    7 Times Square
                                                    New York, New York 10036-6537
                                                    Tel: 212-326-2000
                                                    Email: jpanchok-berry@omm.com

                                   ORDER GRANTING MOTION

        IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




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